     Case:23-40569-EJC Doc#:236 Filed:03/11/24 Entered:03/11/24 14:18:49                    Page:1 of 3


      IT IS ORDERED as set forth below:




      Date: March 11, 2024



_____________________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF GEORGIA
                                     SAVANNAH DIVISION

       IN RE:
                                                                  CHAPTER 7
       MASTER LENDING GROUP, LLC,
                                                                  CASE NO. 23-40569-EJC
                           Debtor.

            CONSENT ORDER ON 2004 ORDER AND THE AMENDED MOTION FOR
            PROTECTIVE ORDER AND TO VACATE ORDER FOR EXAMINATION
                        AND PRODUCTION OF DOCUMENTS

             On January 16, 2024, Tiffany E. Caron, as Chapter 7 Trustee (the “Trustee”) for the

      bankruptcy estate of Master Lending Group, LLC (“Debtor” or “MLG”), filed a Motion for

      Examination and Document Production by Judith Hirsch Pursuant to Rule 2004 of the Federal

      Rules of Bankruptcy Procedure (Doc. No. 204) (the “2004 Motion”) in this bankruptcy case. The

      2004 Motion requested “authority to examine Judith Hirsch with respect to the financial affairs of

      the Debtor.” 2004 Motion at ¶ 8. The Trustee also requested the production of documents and

      information relating to Mrs. Hirsch’s financials, tax returns, life insurance policies, and other
Case:23-40569-EJC Doc#:236 Filed:03/11/24 Entered:03/11/24 14:18:49                    Page:2 of 3


 property. On January 17, 2024, this Court entered an Order for Examination and Production of

 Documents Pursuant to Bankruptcy Rule 2004 (Doc. No. 206) (the “2004 Order”) granting the

 Trustee’s 2004 Motion. On January 25, 2024, Mrs. Hirsch filed a Motion for Protective Order and

 to Vacate Order for Examination and Production of Documents Pursuant to Bankruptcy Rule 2004

 (Doc. No. 212), as later amended by the Amended Motion for Protective Order and to Vacate

 Order for Examination and Production of Documents Pursuant to Bankruptcy Rule 2004 (Doc.

 No. 219) (as amended, the “Motion for Protective Order”) filed on February 5, 2024.

        The Trustee and Judith Hirsch have resolved, by consent, certain issues raised by the 2004

 Motion and the Motion for Protective Order. Such resolution is set forth in this Consent Order.

 Based upon the consent of the parties and consideration of the record in this bankruptcy case, the

 Court enters this Order. It is hereby ORDERED AND ADJUDGED as follows:

        1.      By agreement of the Trustee and Judith Hirsch (collectively, the “Parties”), the

 examination of Judith Hirsch under Bankruptcy Rule 2004 (the “Examination”) has been

 rescheduled to April 2, 2024, at 10:00 a.m. The Examination shall occur in the offices of the U.S.

 Trustee in Savannah, Georgia. The only parties in attendance at the Examination shall be: (a) the

 Trustee (and her counsel), (b) Mrs. Hirsch (and her counsel), and (c) the Assistant U.S. Trustee,

 Auditor and/or Attorney for the U.S. Trustee.

        2.      The Examination shall be the Rule 2004 Examination of Judith Hirsch in the Master

 Lending Group, LLC Case No. 23-40569-EJC. as well as the deposition of Judith Hirsch in

 Adversary Proceeding No. 23-04021-EJC.

        3.      Judith Hirsch has produced documents to the Trustee. Certain of the documents

 have been produced in redacted format. To the extent that any dispute may arise between the

 Trustee or Mrs. Hirsch with respect to the form and content of Mrs. Hirsch’s production of



                                                 2
Case:23-40569-EJC Doc#:236 Filed:03/11/24 Entered:03/11/24 14:18:49                       Page:3 of 3


 documents, either the Trustee or Mrs. Hirsch may seek further relief form the Court. Production

 of documents by Mrs. Hirsch does not concede the relevance or admissibility of any such

 documents at any hearing in this case. Without limitation, the Court is contemporaneously entering

 the “Confidentiality Order” which governs the confidential nature of certain documents.

          4.    Pursuant to the 2004 Motion, the Trustee requested Mrs. Hirsch to produce personal

 credit card statements. Mrs. Hirsch and the Trustee have stipulated that Mrs. Hirsch will produce

 redacted versions of her American Express credit card statements that redact all transaction details

 on charges of $1,000 or less except for any charges related to life insurance policies and any

 payments to current and/or former creditors of the Debtor. Such stipulation is approved based upon

 the terms of this Consent Order.

          5.    Except as set forth in this Order, the Trustee and Mrs. Hirsch reserve their rights to

 seek further relief with respect to the 2004 Motion, the 2004 Order, and the Motion for Protective

 Order.

                                        [END OF ORDER]

  Prepared and Consented to by:                       Consented to by:
  JONES & WALDEN LLC
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